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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                 2/23/2023

NIKE, INC.,
                                                 22 Civ. 10176 (VM)
                        Plaintiff,
                                                 ORDER
                - against -

BY KIY LLC, et al.,

                        Defendants.


VICTOR MARRERO, United States District Judge.

     On February 6, 2023, and consistent with the Court’s

Individual Practices, counsel for defendants Reloaded Merch

LLC and Bill Omar Carrasquillo (collectively, the “Moving

Defendants”)    sent     counsel      for   plaintiff    Nike,    Inc.

(“Plaintiff”)    a     pre-motion     letter   identifying   alleged

deficiencies in the Complaint that Plaintiff filed in this

action, and that allegedly would provide a basis for a motion

to dismiss. (See Dkt. No. 47.) On February 13, 2023, also

consistent with the Court’s Individual Practices, counsel for

Plaintiff filed a letter in response, opposing the grounds

that the Moving Defendants stated in favor of the proposed

motion. (See Dkt. No. 54.) On February 21, 2023, the Court

received a letter from counsel for the Moving Defendants

asserting that the letter exchange did not resolve the dispute

and thus failed to avoid motion practice at this stage of the

proceedings. (See Dkt. No. 58.) Counsel further requested
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that the Court grant the Moving Defendants leave to file a

full motion to dismiss. On February 22, 2023, counsel for

Plaintiff filed a response letter challenging the Moving

Defendants’ letter, dated February 21, 2023, on the grounds

that it constituted a substantive reply letter brief. (See

Dkt. No. 59.) Counsel for Plaintiff further requested that

the Court strike the letter and deny the Moving Defendants’

request for leave to file a motion to dismiss.

     Upon review of all pre-motion letters, the Court hereby

denies Plaintiff’s request to strike the Moving Defendants’

letter, dated February 21, 2023, and its request to deny leave

to file a motion to dismiss. Within seven (7) days of the

date of this Order, the parties shall notify the Court whether

they consent to the Court deeming the pre-motion letters as

a fully briefed motion to dismiss and ruling on the basis of

the letters, or whether the parties request supplemental or

full briefing on the Moving Defendants’ proposed motion. If

the parties request supplemental or full briefing, they shall

submit a proposed briefing schedule within seven (7) days of

the date of this Order.

SO ORDERED.

Dated:    23 February 2023
          New York, New York
                                         _________________________
                                              Victor Marrero
                                                 U.S.D.J.

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